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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                                                 Case No. 18-62758-CIV-DIMITROULEAS
   FREDERIC and JENNIFER GUTTENBERG,
   as co-representatives of the Estate of
   Jaime Guttenberg,

                      Plaintiffs,
   vs.

   UNITED STATES OF AMERICA,

               Defendant.
   ____________________________________/

                                                                 Case No. 19-61623-CIV-DIMITROULEAS
   PHILIP and APRIL SCHENTRUP,
   as co-representatives of the Estate of
   Carmen M. Schentrup,

                      Plaintiffs,
   vs.

   UNITED STATES OF AMERICA,

               Defendant.
   ____________________________________/


                                                       ORDER

              THIS CAUSE is before the Court on Defendant’s United States’ Appeal of Magistrate

   Judge Snow’s Order Dated February 24, 2020 (ECF 183), filed on March 2, 2020. See [DE 158]

   (the “Appeal”). The Court has carefully considered the Appeal, Judge Snow’s Sealed Order

   dated February 4, 2020 [DE 183] 1, and is otherwise fully advised in the premises. The Court has

   also conducted a de novo review of the entire record in this case.




   1
       On March 2, 2020, Judge Snow issued a Redacted Order of Sealed Order. See [DE 185].
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            On February 14, 2018, Nikolas Cruz entered Marjory Stoneman Douglas High School in

   Parkland, Florida, and killed 17 students and teachers, including Jaime Guttenberg and Carmen

   Schentrup. On November 13, 2018, Plaintiffs Frederic and Jennifer Guttenberg, as co-

   representatives of the Estate of Jaime Guttenberg, filed case no. 18-cv-62758-WPD, alleging a

   claim of negligence against the United States under the Federal Tort Claims Act (“FTCA”), 28

   U.S.C. § 1346(b). Plaintiffs allege that the Federal Bureau of Investigation (“FBI”) failed to

   comply with its mandatory obligations to handle, investigate, and intervene on tips it received

   about Nikolas Cruz’s plans to carry out a mass shooting, resulting in the death of their daughter.

   See [DE 1]. 2

            On March 5, 2019, the United States filed a Motion to Dismiss. See [DE 17]. The

   Motion to Dismiss presents two independent grounds for dismissal. First, the United States

   argues that it did not owe a duty to Plaintiffs and their daughter under Florida law. Second, the

   United States argues that the FTCA’s discretionary function exception, 28 U.S.C. § 2680(a), bars

   the claim based on the decisions of the FBI on how to assess, prioritize, and investigate tips of

   potential criminal activity.

            In response to the filing of the Motion to Dismiss, Plaintiffs filed a Motion for Extension

   of Time to Respond to Defendant’s Motion to Dismiss, requesting jurisdictional discovery on the

   mandatory protocols and procedures governing what the FBI was required to do in this case. See

   [DE 18]. In contrast, the United States filed a Motion to Stay Discovery See [DE 21]. After full




   2
     On June 28, 2019, Philip and April Schentrup, as co-representatives of the Estate of Carmen M. Schentrup (the
   “Schentrups”), filed their Complaint against the United States. See case no. 19-cv-61623. A Joint Motion to
   Consolidate for Pretrial Proceedings was filed on July 23, 2019, which the Court granted on July 31, 2019. See
   [DE’s 54, 55]. Pursuant to Rule 42, Fed. R. Civ. P., these two cases have been consolidated for pretrial proceedings,
   including the completion of jurisdictional discovery and adjudication of Defendant’s Motion to Dismiss. See [DE
   55].
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   briefing and careful consideration, the Court entered an Omnibus Order on April 15, 2019. See

   [DE 27]. Therein, the Court granted Plaintiffs leave to conduct jurisdictional discovery

           regarding the existence and content of any mandatory established policies,
           protocols, and procedures, whether written or otherwise, governing the FBI’s
           conduct in assessing or handling tips regarding potential threats to life, active
           shooters, mass shootings, terrorism threats, and/or school shootings


   See [DE 27]. The Omnibus Order extended the time for Plaintiffs to respond to the United

   States’ Motion to Dismiss until two weeks after the close of jurisdictional discovery. See id. The

   Court anticipated that jurisdictional discovery could be completed in approximately three (3)

   months, and set a deadline of July 15, 2019. See id. Jurisdictional discovery took significantly

   longer than the Court anticipated. This will be further discussed infra.

           On January 30, 2020, the Court, believing that jurisdictional discovery had been

   completed and all matters related thereto had been resolved, entered a paperless order, stating:

   “Jurisdictional discovery in this matter has now ended. Plaintiffs will have until February 14,

   2020 to either respond to the Motion to Dismiss or to file an Amended Complaint.” See [DE

   170].

           However, on February 6, 2020, Plaintiffs filed a Motion to Compel Production. See [DE

   173]. Plaintiffs stated that they had “recently learned—after months of jurisdictional

   discovery—that the government has withheld some relevant documents in this case based on at

   least three strained and unilateral determinations as to relevancy.” See id. at p. 2. Plaintiffs

   further explained that:

                   First, contrary to the Order’s plain meaning, the government appears to
           take the view that the Order extends only to the conduct of the FBI’s Public
           Access Line (PAL), and to no other entity or office within the FBI. Second, the
           government appears to take the view that the Order covers only the “pre-
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          assessment” of tips. Third, the government appears to have improperly withheld
          some terrorism-related materials that are within the scope of jurisdictional
          discovery. These withheld materials include documents related to international
          terrorism, notwithstanding the fact that the government’s own documents indicate
          that the tips about Nikolas Cruz—who expressed sympathy for ISIS—qualified as
          tips about international terrorism.
                   Plaintiffs are entitled to receive all non-privileged materials within the
          scope of this Court’s Order. This includes materials containing policies, protocols
          and procedures (1) governing the conduct of any FBI office or subdivision, not
          just the PAL; (2) governing the “handling” and “assess[ment]” of tips, not just the
          initial intake of tips; and (3) governing the handling and assessment of tips about
          terrorism, whether domestic or international.
   [DE 173] at p. 3.

          After full briefing, see [DE’s 173, 180, 181], Judge Snow entered a Sealed Order on

   February 24, 2020 which granted Plaintiffs’ Motion to Compel Production. See [DE 183]; see

   also [185] (Redacted Order of Sealed Order). Judge Snow agreed with Plaintiffs, finding that the

   United States “has not properly interpreted this Court Orders. The Defendant’s narrow

   interpretation of the Court’s Orders has resulted in deficient discovery responses.” [DE 185] at p.

   13. Accordingly, Judge Snow ordered, in pertinent part, as follows:

          (1) The Defendant is ordered to review the discovery provided to date and insure
          that all responsive, non-privileged documents are produced without the limitations
          that it has placed on its previous responses/production.
          (2) The Defendant shall produce any policies, protocols and procedures:
                  (a) governing the conduct of any FBI office or subdivision, not just the
                  PAL;
                  (b) governing the handling and assessment of tips at any stage, not just the
                  initial intake of tips; and
                  (c) governing the handling and assessment of tips about terrorism, whether
                  domestic or international.
          (3) Any documents withheld on the basis of privilege shall be identified in a
          privilege log in accordance with the Local Rules of this Court within the same
          time frame provided below. After receipt of the privilege log, the parties shall
          confer in person or by telephone regarding any issues pertaining to the documents
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          withheld in an effort to understand the privilege asserted or agree to provide same,
          subject to appropriate safeguards.
   [DE 185] at pp. 13-14.

          The United States now appeals Judge Snow’s February 24, 2020 Order [DE 183/185].

   See [DE 186]. “A district court reviewing a magistrate judge’s discovery order is, in general,

   limited by statute and rule to reversing that order only if it is ‘clearly erroneous or contrary to

   law.’” S.E.C. v. Merkin, 283 F.R.D. 699, 700 (S.D. Fla. 2012) (citing 28 U.S.C. § 636(b)(1)(A);

   Fed. R. Civ. P. 72(a)). “In the absence of a legal error, a district court may reverse only if there

   was an ‘abuse of discretion’ by the magistrate judge.” Id. (citing Cooter & Gell v. Hartmarx

   Corp., 496 U.S. 384, 401 (1990)).

          The United States contends that the Court’s April 15, 2019 Omnibus Order permitted

   discovery only into the FBI’s Public Access Line (PAL), not as to any other entity or office

   within the FBI, and, further, that the Court’s Orders limit discovery to protocols regarding how

   the PAL “pre-assesses” or handles tips, not into protocols regarding how the FBI evaluates,

   assesses, handles, or investigates tips. Therefore, that the United States argues that it engaged in

   discovery consistent with and in full compliance with the Court’s Orders permitting

   jurisdictional discovery. The United States states that Judge Snow’s February 24, 2020 Order

   contemplates discovery that is unduly burdensome and disproportionate. The United States

   claims that Judge Snow’s Order is contrary to the intent of the limited jurisdictional discovery

   and that it would take it “perhaps even years” to comply.

          The Court finds the United States’ contorted arguments regarding its exceedingly narrow

   and unfounded interpretations of the Court’s discovery orders to be frivolous. There is nothing

   in the instant appeal that demonstrates to the Court that Judge Snow’s February 24, 2020 Order
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   [DE 183/185] was clearly erroneous or contrary to law. The Court echoes the conclusion of the

   Plaintiff’s Motion to Compel Production:

            The government’s jurisdictional discovery obligations in this case are
            unambiguous: it must produce all relevant documents, and to the extent it
            contends that all or part of a document is protected by privilege, it should list the
            materials on a privilege log. The government appears not to have complied with
            these obligations based on unilateral and improper determinations as to the
            relevancy of certain materials. Plaintiffs are, of course, doubly prejudiced: by the
            government’s failure to fully comply with its discovery obligations, and by the
            government’s failure to share its unreasonable positions with Plaintiffs or the
            Court until the end of the jurisdictional discovery period. Therefore, they
            respectfully request that this Court specifically order the government to produce
            all documents within the scope of jurisdictional discovery.
   [DE 173] at p. 5.

            As stated above, jurisdictional discovery has taken much longer than the Court

   anticipated. Upon careful consideration of the record, the Court finds that the delay has been

   predominately attributable to the United States’ conduct in improperly withholding relevant

   material based upon its extremely narrow and incorrect interpretation of the plain language and

   clear intent of the Court’s Orders. The remedy is as follows: Jurisdictional discovery remains

   closed. The United States’ Motion to Dismiss [DE 17] is denied as to the FTCA’s discretionary

   function exception, without prejudice to the United States raising this argument at summary

   judgment or trial following full discovery, in the event that the Court denies the Motion to

   Dismiss as to the United States’ argument that it did not owe a duty to Plaintiffs and their

   daughter under Florida law. 3 Plaintiffs shall now have fourteen (14) days to either respond to

   that argument in the Motion to Dismiss or file an Amended Complaint.




   3
     The Court notes that this is consistent with the Eleventh Circuit’s approach with regard to the FTCA’s discretionary
   function exception, that “the finding of subject matter jurisdiction should be made together with a merits determination
   under Rule 56 when, as will often be the case, the two are sufficiently intertwined.” See Douglas v. United States, 814
   F.3d 1268, 1281 (11th Cir. 2016) (Tjoflat, concurring). See also Lawrence v. Dunbar, 919 F.2d 1525, 1530 (11th Cir.
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            Accordingly, it is ORDERED AND ADJUDGED as follows:

            1. The Appeal [DE 158] is DENIED;

            2. Judge Snow’s February 24, 2020 Order [DE 183/185] is AFFIRMED, as modified

                herein with regard to the relief granted;

            3. Jurisdictional discovery remains closed;

            4. The United States’ Motion to Dismiss [DE 17] is DENIED as to the discretionary

                function exception, without prejudice to the United States raising that argument at

                summary judgment or trial following full discovery, in the event that the Court denies

                the Motion to Dismiss as to the United States’ argument that it did not owe a duty to

                Plaintiffs under Florida law.

            5. On or before March 18, 2020, Plaintiffs shall either respond to the Motion to Dismiss

                as to the United States argument that it did not owe a duty to Plaintiffs under Florida

                Law, or file an Amended Complaint.

            DONE and ORDERED in Chambers, Ft. Lauderdale, Broward County, Florida, this 4th

   day of March, 2020.




   Copies furnished to:
   Counsel of record




   1990) (“When the jurisdictional basis of a claim is intertwined with the merits, the district court should apply a Rule
   56 summary judgment standard . . . .”).
